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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA



 __________________________________
                                            )
                                            )
      Rodney Lail, et al.,                  )
                                            )
            Plaintiffs,                     )
                                            )     C.A. No. 10-CV-210-PLF
                   v.                       )
                                            )
      United States Government, et al.,     )
                                            )
                                            )
            Defendants.                     )
                                            )
                                            )
                                            )


          PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO
         DEFENDANTS’ MOTION TO DISMISS (DOCUMENT 19)

      Pro Se Plaintiffs in the above captioned case hereby file their brief in

Opposition to the following Defendants’ Motion to Dismiss: Palmetto Health Care;

Suzanne Tillman, Individually and in her official capacity as Director with

Palmetto Senior Care; Jennifer Brewton, Individually and in her official capacity

with Palmetto Senior Care; Kathy Beers, Individually and in her official capacity

as Administrator with Palmetto Senior, Care, the preceding as a group herein know

as the “The Palmetto Health Defendants”; The State of South Carolina; The State


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of South Carolina Law Enforcement Division; Captain David Caldwell,

Individually and in his official capacity with SLED; Captain Larry Gainey,

Individually and in his official capacity with SLED; Mark Keel, Individually and

in his official capacity with SLED; Mike Prodan, Individually and in his official

capacity with SLED; The South Carolina Department of Social Services; Princess

Hodges, Individually and in her official capacity with DSS; Susan Stroman,

Individually and in her official capacity with DSS, as a separate group herein after

identified as “The South Carolina State Defendants”; John Weaver, Individually

and in his official capacity as the Horry County Attorney; Horry County Police

Chief, John Morgan, Individually and in his official capacity with Horry County

and Horry County; this last group known collectively hereinafter as “ The Horry

County Defendants.”

      When Pro Se Plaintiffs refer to all Defendants in all subgroups listed above

hereinafter within this document they will be referred to as “The Defendants.”

      The motion to dismiss (Doc. No. 19) must be denied as (1) this Court has

personal jurisdiction over “The Defendants”, and (2) the venue is proper in this

Court, as set forth herein below in detail.

   I. Statement of Facts.

      “The Defendants” Motion to Dismiss (Document No. 19) is being submitted

by a grouping of diverse Defendants who individually would normally have a


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conflict of interest with each other. The numerous Defendants by responding and

being represented through the same counsel(s) show common interests, which the

Pro Se Plaintiffs point out to the Court demonstrates the common interests “The

Defendants” have that resulted in the torts cited in the causes of action and

conspiracy as contained in the Pro Se Plaintiffs’ Complaint, that is under litigation

in this case.

       Pro Se Plaintiffs’ concerns are also raised in the District of Columbia Bar

Rules concerning a Conflict of Interest. Rule 1.7 states:

       “a) A lawyer shall not advance two or more adverse positions in the same
       matter.
       (b) Except as permitted by paragraph (c) below, a lawyer shall not represent
       a client with respect to a matter if:
              (1) That matter involves a specific party or parties, and a position to
              be taken by that client in that matter is adverse to a position taken
              or to be taken by another client in the same matter, even though that
              client is unrepresented or represented by a different lawyer;
              (2) Such representation will be or is likely to be adversely affected by
              representation of another client;
              (3) Representation of another client will be or is likely to be adversely
              affected by such representation; or
              (4) The lawyer's professional judgment on behalf of the client will be
              or reasonably may be adversely affected by the lawyer's
              responsibilities to or interests in a third party or the lawyer's own
              financial, business, property, or personal interests.
       (c) A lawyer may represent a client with respect to a matter in the
       circumstances described in paragraph (b) above if:
              (1) Each potentially affected client provides informed consent to such
              representation after full disclosure of the existence and nature of the
              possible conflict and the possible adverse consequences of such
              representation; and
              (2) The lawyer reasonably believes that the lawyer will be able to
              provide competent and diligent representation to each affected client.
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      (d) If a conflict not reasonably foreseeable at the outset of a
      representation arises under paragraph (b)(1) after the representation
      commences, and is not waived under paragraph (c), a lawyer need not
      withdraw from any representation unless the conflict also arises under
      paragraph (b)(2), (b)(3), or (b)(4).”

      The Pro Se Plaintiffs have alleged that Pro Se Plaintiff 93 year old Doris

Holt was and is a victim of retaliation for the filing of Federal and State tort claims

related to the case captioned above before this Court, and she is wrongfully being

held in captivity for use as a living pawn by Defendants in this matter to interfere

as the Pro Se Plaintiffs try to lawfully litigate the claims before this Court. (See

Pro Se Plaintiffs Complaint, Document No. 12, ¶¶ 145 – 217.)

      The Pro Se Plaintiffs point out the use of makeup to fake injuries to Pro Se

Plaintiff Doris Holt. (Doc. No. 12, ¶ 161.) Pro Se Plaintiffs find it hard to believe

that when the evidence is presented to the Court and found to be unequivocally

true that there will not be a conflict of interest among “The Defendants” that will

create litigation problems. These litigation problems will be adverse to the Pro Se

Plaintiffs as there will be delays and infighting, new counsel will need to be

obtained and there undoubtedly will be motions for a new trial. In the interests of

judicial economy the Pro Se Plaintiffs request the Court to assure that full

disclosure of potential conflicts have been discussed among the parties and that

waivers are properly executed by “The Defendants” to ensure that the Pro Se




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Plaintiffs are not impacted by these conflicts when as inevitable in these matters

the conflicts are realized.

       The Pro Se Plaintiffs have previously brought the issue of a conflict of

interest before the Court and, regarding “The Defendants” (See Document No. 30

Pg. 2, Pg. 4, Point No. 3). The Court remains silent on this issue of concern raised

by the Pro Se Plaintiffs and, notwithstanding this, the Pro Se Plaintiffs are

submitting this memorandum in opposition to “The Defendants” Motion to

Dismiss (Doc. No. 19).

       However, the Pro Se Plaintiffs hereby respectfully provide Judicial Notice of

such potential conflicts of interests that can impact the ability for the Pro Se

Plaintiffs to litigate this case and that such a conflict of interest can lead to a retrial,

which in either case would be prejudice to the interests of the Pro Se Plaintiffs.

       “The Defendants” in Document No. 19 introduce information to confuse the

Court that is not germane to the causes of action listed in the Complaint being

litigated in this Court.      As an example in Document 19-1, Pg 2 ¶ 2 “The

Defendants” state, “The identity of the persons making the threats is not given in

the Complaint, nor is the reason that these threats were being made.” This is

nothing but Pro Se Plaintiff background information being twisted by “The

Defendants” to confuse this Court and is not germane to the causes of action or the

named Defendants in the Pro Se Plaintiffs’ Complaint in the above captioned case.


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      Further, “The Defendants” baselessly attempt to present this lawsuit as

previously litigated. “The Defendants” cannot legitimately present any evidence of

such that cannot be unequivocally proved to be a total distortion. These distortions

are nothing but tactics to confuse this Court rather than to deal with the substantive

issues of the case captioned above that are of great concern to the National public

interest in regard to reliance on Constitutional safe guards that failed to work, as

will be definitively documented in this case by the Pro Se Plaintiffs. “The

Defendants” convoluted and inaccurate “Statement of Facts” is so distorted and

deceptive that the Pro Se Plaintiffs can only effectively characterize “The

Defendants” entire “Statement of Facts” in Document No. 19-1 as a concoction of

half truths, untruths, distortions and exaggerations that in no way represent truth.

      The Pro Se Plaintiffs response to the “The Defendants” Statement of Facts

in Document No. 19-1 is that the Pro Se Plaintiffs stand by their second amended

complaint and restate such in its entirety. The alternative would be for the Pro Se

Plaintiffs to rewrite the Complaint, Document No. 12 in its entirety and insert it

within this Memorandum in Opposition to “The Defendants” Motion to Dismiss

Document No. 19.

II. Based on the Documented Facts the Court Must Accept Plaintiffs’
Allegations in the Complaint as Plausible on its face.

      Contrary to “The Defendants” arguments in their motion to dismiss (Doc.

19) the Pro Se Plaintiffs presented significant factual matter, which accepted as
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true, makes their Complaint and causes of action undeniably plausible on its face.

      It would be highly contradictory to the laws of probability that such factual

matter presented by the Pro Se Plaintiffs, accepted as true, could concern unrelated

events. Given such, the contents of the Pro Se Plaintiffs’ complaint must be

viewed as plausible on its face.

      In Ashcroft v. Iqbal the Supreme Court found that “[t]o survive a motion to

dismiss, a Complaint must contain sufficient factual matter, accepted as true, to

state a claim of relief that is plausible on its face.” Ashcroft v. Iqbal, 129 S. Ct.

1937, 1949 (U.S. 2009).

      See also, Leatherman v. Tarrant County Narcotics Intelligence and

Coordination Unit, 507 U.S. 163, 113 S. Ct. 1160, 122 L.ED.2d 517 (1993);

United States v. Gaubert, 499 U.S. 315, 327, 111 S. Ct. 1267, 1276, 113 L.Ed.2d

335 (1991).

      The average individual reviewing the facts presented by the Pro Se Plaintiffs

in their Complaint (Doc. No. 12) would easily conclude that the allegations in the

Complaint were plausible and, indeed, well-founded on their face.

      The Pro Se Plaintiffs’ Complaint more than meets the standard set forth in

Ashcroft v. Iqbal.

      As just one example, the Pro Se Plaintiffs clearly document the fabrication

of reports that resulted in the financial benefits that co-Defendant Palmetto Health


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received by having co-Defendant SC DSS wrongfully withdraw Pro Se Plaintiff

Doris Holt from comprehensive medical coverage contracted by her with

Defendant Palmetto Health. This wrongful action resulting in putting an additional

burden on the Federal Treasury in Washington, DC to pay additional monies

and/or have Pro Se Plaintiff Doris Holt deprived of the benefits of her contracted

for health care coverage (e. g. special care, special food, dentures). (See Pro Se

Plaintiffs Second Amended Complaint, ¶¶ 200 – 217).

      Discovery is needed to determine who the financial beneficiaries were of the

tort actions involved and who were the financial losers and the extent of

participation of “The Palmetto Health Defendants” and “The State of South

Carolina Defendants” in this act within the conspiracy and their knowledge of the

overall conspiracy including interactions with “The Horry County Defendants” and

the other Defendants indentified in the Complaint by the Pro Se Plaintiffs. The

actions in the use of Pro Se Plaintiff Doris Holt as a human pawn by the

Defendants to impact the Pro Se Plaintiffs litigation in this case are just an

example of many wrongful acts that warrant discovery.

III. This Court Has Personal Jurisdiction Over “The Defendants”.

      The Washington, D.C. Circuit Court made the criteria clear to establish

personal jurisdiction in a civil conspiracy in Manook v. Research Triangle Institute

International where the court established:


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      “For conspiracy jurisdiction within the District of Columbia, the
      plaintiff must allege: (1) the existence of a civil conspiracy; (2) the
      Defendant’s participation in the conspiracy; and (3) an overt act by a
      coconspirator within the forum, subject to the long-arm statute, and in
      furtherance of the conspiracy. More importantly, a plaintiff seeking to
      meet its burden of demonstrating that a court may exercise jurisdiction
      over foreign Defendants under a conspiracy theory must present a
      particularized pleading of the conspiracy as well as the overt acts
      within the forum taken in furtherance of the conspiracy.”


Estate of Manook v. Research Triangle Inst. Int’l, 693 F.Supp. 2d 4, 18-19 (D.D.C.

2010).

      The Complaint states in detail several of the actions taken in Washington,

D.C., which Plaintiffs contend was the hub of the conspiracy with the FBI

Washington, D.C., headquarters at the vortex of the conspiracy. These actions

include, but are not limited to, the FBI’s submission of fraudulent NCIC reports to

the United States Senate Judiciary Committee. (See Complaint ¶ ¶ 117-120.) A

second example of the numerous acts conducted within the forum was the use of

FBI personnel in Washington, D.C., wrongly invoking national security to hide

incriminating documents to subvert the constitutional rights of the Pro Se

Plaintiffs. (See Complaint ¶ ¶ 123, 140, and 236.)

      Additionally, all records of the actions taken by the central perpetrators and

the agents and/or employees of the FBI are kept in Washington, DC, and such

records were wrongfully withheld from Pro Se Plaintiffs by the actions of the FBI

in Washington, D.C.
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      The Complaint makes clear the existence of a civil conspiracy and “The

Defendants” participation in said conspiracy. As stated beginning in ¶ 186 of the

Complaint, “The Defendants” known roles in the conspiracy are outlined. In

complicity with the Defendant South Carolina Department of Social Services, “The

Palmetto Health Defendants” have ensured the deterioration of Pro Se Plaintiff

Doris Holt’s health through their provision of substandard healthcare services

using the life of the frail 93 year old Pro Se Plaintiff Doris Holt as a human pawn.

      Defendant Palmetto Health Care and the Palmetto Senior Care Defendants

(Suzanne Tillman, Jennifer Brewton, and Kathy Beers) are alleged to be involved

in the fraudulent representations made to police and Family Court, which led to the

unwarranted abduction and continuing detention of Pro Se Plaintiff Doris Holt.

(See Complaint ¶¶ 150, 153, 161.)          Furthermore, Palmetto Senior Care in

conjunction with the conspiracy failed to provide adequate care under its policy

agreement with Doris Holt (See Complaint ¶¶ 194, 195.)

      Pro Se Plaintiff Doris Holt’s living conditions have been unsanitary; she has

been nourished improperly, and has suffered uninvestigated abuse.               (See

Complaint ¶¶ 194-195, 201-207.) “The Palmetto Health Defendants” and “The

State of South Carolina Defendants” have actively infringed on Pro Se Plaintiff

Doris Holt’s right to have family visitation (See Complaint ¶¶ 211-212.) The Pro

Se Plaintiffs have alleged in their Complaint (Doc. No. 12) that “The Defendants”,


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as well as other residents of South Carolina, Virginia, West Virginia, North

Carolina and Washington, DC engaged in a civil conspiracy to deprive Pro Se

Plaintiffs of their constitutional rights including, but not limited to, equal

protection under law and the right to due process.

        The State of South Carolina, the South Carolina Law Enforcement Division

and related Defendants (David Caldwell, Larry Gainey, Mark Keel, and Mike

Prodan) have been complicit with the FBI, headquarters in Washington, D.C., in

covering-up civil rights abuses and defrauding the Court (See Complaint ¶¶ 92-

126.)

        The South Carolina Department of Social Services (DSS), Susan Stroman,

and Princess Hodges are all parties to the conspiracy (See Complaint ¶¶ 145-217),

beginning with DSS’s and Stroman’s participation in orchestrating Doris Holt’s

abduction. (See Complaint ¶ 150.) Defendant Stroman fabricated reports of abuse

to wrongfully justify Defendant SC DSS’s actions in this case. (See Complaint ¶

154.) Defendants’ SC DSS, Stroman and Hodges were unresponsive to evidence

of Doris Holt’s abuse allowing the frail Pro Se Plaintiff to be used as a human

pawn by the Defendants named in the Complaint. (See Complaint ¶ 191.)

        John Weaver hid public documents to the detriment of Pro Se Plaintiffs’

claims in furtherance of the cover up of civil rights abuses and the related




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conspiracy. (See Complaint ¶ 90.) John Morgan further assisted Weaver in the

illicit concealment and destruction of evidence. (See Complaint ¶ 91.)

        The Pro Se Plaintiffs have alleged the existence of the conspiracy and “The

Defendants” participation in that conspiracy, therefore, prongs one and two of the

Manook test are satisfied and the Pro Se Plaintiffs’ claims are plausible on their

face.

        Under D.C. Code § 13-423, the long arm statute applies to members of the

conspiracy outside the forum including when any of these occur:

        (1)   “transacting any business in the District of Columbia,
        (2)   causing tortious injury in the District of Columbia by an act
              omission in the District of Columbia, and
        (3)   causing tortious injury in the District of Columbia by an act or
              omission outside the District of Columbia if he regularly does or
              solicits business, engages in any other persistent course of conduct, or
              derives substantial revenue from goods used or consumed, or services
              rendered, in the District of Columbia.”

        “The State of South Carolina Defendants” transact business within the

District of Columbia through the United States Treasury funding of various law

enforcement programs, health care programs and social service funding, “The

Palmetto Health Defendants” are also recipients of funds from the United States

Treasury in the form of medical grants, Medicaid and Medicare payments along

with guidelines and standards set by Medicaid and Medicare, located in

Washington, D.C. and the related lobbying activities conducted by Defendant

Palmetto Health in these regards are conducted in Washington, D.C.

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      Additionally, “The Horry County Defendants” receive and handle Federal

law enforcement grants, municipality grants for roadway improvements, airport

development, social services housing and maintain business ties to the

Washington, D.C., community to facilitate obtaining such funding.

      Additionally, the Defendant FBI personnel ultimately report to FBI

Headquarters in Washington, DC, and all records of the actions taken by the

central perpetrators and the agents’ and/or employees of the FBI are kept in

Washington, DC. Many such records were wrongfully concealed from Pro Se

Plaintiffs by the actions of the Defendant FBI in Washington, D.C.

      As outlined herein, and further in the Pro Se Plaintiffs’ Complaint in

addition to the tort actions which led to injury, which occurred inside the forum,

substantial business related financial transactions and regulatory guidelines have

been issued and both have and are occurring between the United States Treasury

Department and other government regulatory agencies located in Washington, DC,

and “The Defendants”.

      As previously stated Medicare and Medicaid payments and related

administrative regulations from Medicare and Medicaid both headquartered in

Washington, DC impact the business, financial and administrative practices of the

SC DSS Defendants and “The Palmetto Health Defendants.” In that regard, “The

Defendants” engage lobbyists in Washington, DC to transact business there. There


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should be no question as to the business and financial ties between “The

Defendants” and forum of Washington, DC.

      As coconspirators, “The Defendants” may be held responsible for all of the

actions of the conspiracy. Therefore, the third prong of the Manook test is satisfied

and the D.C. long arm statute applies to “The Defendants.”

      These allegations are sufficient to confer on this Court personal jurisdiction

over “The Defendants” in these plausible claims.

      Based on United States Supreme Court decision in Blumenthal v. United

States, it would be premature to have “The Defendants” dismissed from this

lawsuit until discovery is conducted to determine the extent of “The Defendants”

role in and knowledge of the overall conspiracy including, but not limited to, the

outrageous mistreatment of the frail 93 year old Pro Se Plaintiff Doris Holt used as

a human pawn by the Defendants and the knowledge of “The Defendants”

regarding their role in such and the overall plausible conspiracy.

      In Blumenthal v. United States, the Supreme Court found:

         “…the law rightly gives room for allowing the conviction of
         those discovered upon showing sufficiently the essential nature
         of the plan and their connections with it, without requiring
         evidence of knowledge of all its details or of the participation of
         others. Otherwise the difficulties, not only of discovery, but of
         certainty in proof and of correlating proof with pleading would
         become insuperable, and conspirators would go free by their very
         ingenuity.”
         Blumenthal v. United States, 332 U.S. 539, 557 (U.S. 1947)


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      It is premature to have “The Defendants” dismissed from this lawsuit until

discovery is conducted to determine the extent of “The Defendants” role in this

plausible conspiracy.

IV. Additional Case Law Considerations:

      South Carolina Court decisions also support the contention that the proper

jurisdiction would be the D.C. District Court. A plaintiff must only make a prima

facie showing that the court has jurisdiction over the Defendant for the civil action

to continue, and allegations in the Complaint to this effect are normally sufficient

to warrant exercise of jurisdiction. Brown v. Investment Management and

Research, Inc., 475 S.E.2d 754 (1996). The court must take as true the allegations

of the non-moving party and resolve all factual disputes in the non-movants’ favor.

Id. at 756. Whenever a plaintiff alleges a civil conspiracy perpetrated by both

residents of a state and nonresidents, there is personal jurisdiction over the

nonresidents as long as some of the actions of the conspiracy occurred within the

state. Hammond v. Butlert, Means, Evans, & Brown, 388 S.E.2d 796, cert. denied,

498 U.S. 952, 111 S. Ct. 373, 112 L.Ed.2d. 335 (1990).

V. This Court Has Supplemental Jurisdiction Over
Plaintiffs’ State Law Claims.

      Along with the federal claims for violation of the Plaintiffs’ civil rights,

Plaintiffs have alleged various state law claims against Defendants, including “The


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Defendants.” Federal courts have supplemental jurisdiction over any state law

claims, which form part of the same case or controversy. 28 U.S.C. § 1367. The

central concern in deciding whether to assert supplemental jurisdiction over state

law claims is the burden on the parties and the judicial system if the state law

claims are not retained and the Plaintiffs are forced to file several suits in several

jurisdictions. United Mine Workers of America v. Gibbs, 383 U.S. 715, 86 S.Ct.

1130 (1996).

      In the present case, all of the Plaintiffs’ claims alleged in the Complaint are

related to a conspiracy emanating from the FBI in Washington, D.C., and

involving FBI personnel who report to FBI Headquarters in Washington D.C.,

assigned by FBI Headquarters to duty in West Virginia, Virginia, North Carolina

and South Carolina and other individuals and entities with whom “The

Defendants” engaged in a pattern of harassment, extortion, racketeering and

oppression, in an attempt to discredit the Plaintiffs and to a cover-up of crimes

related to taking control of their business and denying Pro Se Plaintiffs

constitutionally guaranteed rights. It would be extremely burdensome and cost

prohibitive to break apart all of the various claims and require the Pro Se Plaintiffs

to pursue this litigation piecemeal in various state courts in West Virginia,

Virginia, South Carolina, North Carolina and Washington, D.C. The more

judicially efficient plan for all parties involved is to have all of these claims


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adjudicated at one time to reduce the costs and burdens on the parties and to ensure

a consistent result.

      This Court clearly has the discretion to exercise supplemental jurisdiction

over Plaintiffs’ state law claims and should do so in this case to promote judicial

economy and efficiency, and to reduce the burden and costs on all parties.

VI. Pro Se Plaintiffs have a Right to Their Day in Court to Determine
the responsibility for the torts Committed against them.

      The United States Supreme Court determined that the Plaintiffs have a right

through the Courts to determine the Defendants responsible for the various tort

damages suffered by the Plaintiffs, in Price Waterhouse v. Hopkins the Supreme

Court ruled”

        “…in the area of tort liability, from whence the dissent's "but-
        for" standard of causation is derived, see post, at 282, the law has
        long recognized that in certain "civil cases" leaving the burden of
        persuasion on the plaintiff to prove "but-for" causation would be
        both unfair and destructive of the deterrent purposes embodied in
        the concept of duty of care. Thus, in multiple causation cases,
        where a breach of duty has been established, the common law of
        torts has long shifted the burden of proof to multiple Defendants
        to prove that their negligent actions were not the "but-for" cause
        of the plaintiff's injury. See e. g., Summers v. Tice, 33 Cal. 2d
        80, 84-87, 199 P. 2d 1, 3-4 (1948). The same rule has been
        applied where the effect of a Defendant's tortious conduct
        combines with a force of unknown or innocent origin to produce
        the harm to the plaintiff. See Kingston v. Chicago & N. W. R.
        Co., 191 Wis. 610, 616, 211 N. W. 913, 915 (1927) ("Granting
        that the union of that fire [caused by Defendant's [*264]
         [**1798] negligence] with another of natural origin, or with
        another of much greater proportions, is available as a defense,
        the burden is on the Defendant to show that . . . the fire set by
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       him was not the proximate cause of the damage"). See also 2 J.
       Wigmore, Select Cases on the Law of Torts § 153, p. 865 (1912)
       ("When two or more persons by their acts are possibly the sole
       cause of a harm, or when two or more acts of the same person
       are possibly the sole cause, and the plaintiff has introduced
       evidence that one of the two persons, or one of the same person's
       two acts, is culpable, then the Defendant has the burden of
       proving that the other person, or his other act, was the sole cause
       of the harm").”

       Price Waterhouse v. Hopkins, 490 U.S. 228, 263-264 (U.S.
       1989)


      In the case before this Court the Pro Se Plaintiffs suffered various serious

tort damages and it would be both inequitable and unconscionable to allow “The

Defendants” released from the case without proper discovery being conducted by

the Pro Se Plaintiffs and the findings of such discovery be used to lawfully bring

“The Defendants” to justice in this Court.

VII. Conclusion.

      Accordingly, Plaintiffs respectfully request the Court that Defendants

Palmetto Health Care; Suzanne Tillman, Individually and in her official capacity as

Director with Palmetto Senior Care; Jennifer Brewton, Individually and in her

official capacity with Palmetto Senior Care; Kathy Beers, Individually and in her

official capacity as Administrator with Palmetto Senior, Care; The State of South

Carolina; The State of South Carolina Law Enforcement Division; Captain David

Caldwell, Individually and in his official capacity with SLED; Captain Larry


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                          CERTIFICATE OF SERVICE

       I hereby certify that on the 21st day of September, 2010, I electronically filed
the foregoing PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO
DEFENDANTS’ MOTION TO DISMISS (DOCUMENT 19), with the Clerk of
the Court using the CM/ECF system, which will then send a notification of such
filing (NEF) to the following:

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